                                      Case 18-15008-JKO                   Doc 7      Filed 04/27/18     Page 1 of 5

                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Magnolia Del Carmen Medichini                                                                 Case No.
                                                                                  Debtor(s)               Chapter       13

                                                    DECLARATION REGARDING PAYMENT ADVICES

Debtor:

            Copies of all payment advices, pay stubs or other evidence of payment received by the debtor from any employer within 60
            days prior to the filing of the bankruptcy petition are attached. (Note: If you worked some, but not all of the 60 days prior,
            attach copies of any and all received and provide explanation that you didn't work the full 60 days.)

            Copies of all payment advices are not attached because the debtor had no income from any employer during the 60 days
            prior to filing the bankruptcy petition.

            Copies of all payment advices are not attached because the debtor:
                    receives disability payments
                    is unemployed and does not receive unemployment compensation
                    receives Social Security payments
                    receives a pension
                    does not work outside the home
                    is self employed and does not receive payment advices

            None of the statements above apply, however, the debtor is unable to timely provide some or all copies of payment advices or
            other evidence of payment received
            Explain:

NOTE: When submitting copies of evidence of payment such as pay stubs or payment advices, it is your responsibility to redact
(blackout) any social security numbers, names of minor children, dates of birth or financial account numbers before attaching for
filing with the court. See Local Rule 5005-1(A)(2).

                                                                          CERTIFICATION
      I hereby certify that I am admitted to the Bar of the United States District Court for the Southern District of Florida and I am in compliance
 with the additional qualifications to practice in this court set forth in Local Rule 2090-1(A).

     April 27, 2018                                                              /s/ Jonathan S. Leiderman
     Date                                                                        Jonathan S. Leiderman 0027022
                                                                                 Signature of Attorney
                                                                                 Leiderman Shelomith Alexander + Somodevilla, PLLC
                                                                                 2699 Stirling Rd # C401
                                                                                 Fort Lauderdale, FL 33312
                                                                                 (954) 920-5355 Fax: (954) 920-5371
                                                                                 jsl@lsaslaw.com
                                                                                 Name of law firm




LF-10 (rev. 12/01/09)                                                         Page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
Case 18-15008-JKO   Doc 7   Filed 04/27/18   Page 2 of 5
Case 18-15008-JKO   Doc 7   Filed 04/27/18   Page 3 of 5
Case 18-15008-JKO   Doc 7   Filed 04/27/18   Page 4 of 5
Case 18-15008-JKO   Doc 7   Filed 04/27/18   Page 5 of 5
